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  legislators &
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                   45th (1937)    House - Democrat 147 Other 1
                                  Senate - Democrat 31
                   44th (1935)    House - Democrat 147 Other 1
                                  Senate - Democrat 31
                   43rd (1933)    House - Democrat 148 Other 2
                                  Senate - Democrat 31
                   42nd (1931)    House - Democrat 149 Other 1
                                  Senate - Democrat 31
                   41st(1929)     House - Democrat 149 Republican 1
                                  Senate - Democrat 30
                   40th (1927)    House - Democrat 149 Republican 1
                                  Senate - Democrat 30 Republican 1
                   39th (1925)    House - Democrat 149 Republican 1
                                  Senate - Democrat 30 Republican 1
                   38th (1923)    House - Democrat 148 Republican 1
                                  Senate - Democrat 30
                   37th (1921)    House - Democrat 137 Republican 1       Other 4
                                  Senate - Democrat 30
                   36th (1919)    House - Democrat 139 Republican 1
                                  Senate - Democrat 31
                   3Sth (1917)    House - Democrat 142
                                  Senate - Democrat 3 1
                   34th (1915)    House - Democrat 137 Republican 1       Other 2
                                  Senate - Democrat 31
                   33rd (1913)    House - Democrat 141 Republican 1
                                  Senate - Democrat 30 Republican 1
                   32nd (1911)    House - Democrat 132 Republican 1
                                  Senate - Democrat 29 Republican 1
                   31st (1909)    House - Democrat 130 Republican 3
                                  Senate - Democrat 30 Republican 1
                   30th (1907)    House - Democrat 129 Republican 2       Other 1
                                  Senate - Democrat 29
                   29th (1905)    House - Democrat 128 Republican 2       Other 1
                                  Senate - Democrat 31
                   28th (1903)    House - Democrat 130 Republican 1       Other 2
                                  Senate - Democrat 31
                   27th (1901)    House - Democrat 123 Other 2
                                  Senate - Democrat 31
                   26th (1899)    House - Democrat 1 2 1 Republican 1     Other 6
                                  Senate - Democrat 30 Republican 1
                   25th (1897)    House - Democrat 118 Republican 3       Other 7
                                  Senate - Democrat 26 Republican 1       Other 2
                   24th (1895)    House - Democrat 103 Republican 2       Other 22
                                  Senate - Democrat 28 Other 2
                   23rd (1893)    House - Democrat 118 Republican 1       Other 8
                                  Senate - Democrat 30 Other 1
                   22nd (1891)    House - Democrat 105 Republican 1
                                  Senate - Democrat 29 Other 1
                   21st(1889)     House - Democrat 100 Republican 3       Other 3
                                  Senate - Democrat 29 Other 2
                   20th (1887)    House - Democrat 100 Republican 5       Other 1
                                  Senate - Democrat 29 Republican 1       Other 1
                   19th (1885)    House - Democrat 101 Republican 5
                                  Senate - Democrat 30 Republican 1
                   18th (1883)    House - Democrat 94     Republican 4    Other 7
                                  Senate - Democrat 28    Other 1
                   17th (1881)    House - Democrat 80     Republican 7    Other 5
                                  Senate - Democrat 29    Republican 1    Other 1
                   16th (1879)    House - Democrat 74     Republican 7    Other 12
                                  Senate - Democrat 25    Republican 3    Other 3
                   15th (1876)    House - Democrat 8 1 Republican 7
                                  Senate - Democrat 26 Republican 3       Other 1
                   14th (1874)    House - Democrat 78     Republican 10
                                  Senate - Democrat 23    Other 3
                   13th (1873)    House - Democrat 75 Republican 12
                                  Senate - Democrat 15 Republican 3 Other 12
                   12th (1870)    House - Democrat 8     1Republican 2    Other 27
                                  Senate - Democrat 6     'Other 16
